                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                    3:91CR86

UNITED STATES OF AMERICA               )
                                       )
vs.                                    )
                                       )                            ORDER
CLYNTON JOHN CHASE            (2)      )
______________________________________ )

        This matter is before the court on its own motion. The undersigned has been notified that
the inquiry into status of counsel hearing has been set for March 28, 2007, at 9:30 a.m. and that
defendant is currently in BOP custody in Coleman, Florida.

       IT IS ORDERED THAT the U.S. Marshal shall have defendant Clynton John Chase
returned to the Western District of North Carolina, Charlotte, North Carolina for the hearing set
for March 28, 2007 at 9:30 a.m.

      IT IS FURTHER ORDERED that defendant Clynton John Chase is to remain in the
Western District of North Carolina, Charlotte, North Carolina until re-sentencing is held.

       IT IS ALSO FURTHER ORDERED that said defendant be returned to USP Coleman at
the conclusion of re-sentencing.



       So ordered.
                                                 Signed: February 21, 2007




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